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                                         U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                       The Silvio J. Mollo Building
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                                                       New York, New York 10007


                                                       May 12, 2022

BY ECF, E-MAIL, and HAND

The Honorable John G. Koeltl
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re: United States v. Arthur Hayes, 20 Cr. 500 (JGK)

Dear Judge Koeltl:

       The Government respectfully submits this letter in advance of the sentencing of defendant
Arthur Hayes, currently scheduled for May 20, 2022 at 2 p.m., and in response to the defendant’s
sentencing memorandum (“Def. Mem”).

        Arthur Hayes is the CEO, co-founder, and 30 percent owner of BitMEX, an incredibly
successful cryptocurrency company, which he designed to operate in violation of the Bank Secrecy
Act (“BSA”), the U.S. law designed to prevent money laundering and to assist the tracking of
proceeds of criminal activity. Hayes profited greatly from BitMEX, personally earning over one
hundred million dollars, while willfully and continuously operating the Company in violation of
the BSA, by failing to implement an anti-money laundering (“AML”) program. During the charged
period, as BitMEX grew to become one of the largest cryptocurrency derivatives platforms in the
world, the defendant enabled BitMEX to allow its users to transact trillions of dollars
anonymously, because he decided not to implement a know-your-customer (“KYC”) procedure.
The defendant prominently advertised BitMEX’s lack of KYC and AML, through its website,
blogposts that he authored, and in the media. The lack of KYC and AML drew precisely the bad
actors which the BSA intends to deter, but when the defendant learned about suspicious
transactions on BitMEX’s platform, he caused the Company to fail to file suspicious activity
reports (“SARs”) with the Department of Treasury. To maintain the fiction that BitMEX was
outside of the scope of the BSA, the defendant lied repeatedly and exhibited deep disrespect for
the law, including the BSA and U.S. commodities laws.

        The proper sentence in this case should reflect his history and characteristics, including the
talent and sophistication which he used to create a cryptocurrency platform designed to operate
outside the law; the seriousness of this offense; the need to promote respect for the law which he
willfully violated; to afford proper deterrence, both specific and general, in this important case that
an entire industry is observing closely; and the requirement to avoid sentencing disparities among
defendants who commit similar misconduct. For these and the reasons set forth in greater detail
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below, a significant sentence of incarceration, above the applicable Sentencing Guidelines range
of 6 to 12 months, is necessary to comply with the purposes set forth in 18 U.S.C. § 3553(a).

       I.      Hayes’ Conduct

            A. Background of BitMEX

        Hayes, Ben Delo, and Sam Reed are the co-founders and equal owners of BitMEX. They
launched BitMEX in 2014. (Presentence Investigation Report (“PSR”) ¶ 14). During applicable
periods from that launch to at least in or about October 2020, the Company offered financial
derivatives, including futures contracts and swaps, tied to the price of Bitcoin and other
cryptocurrencies, which settled in Bitcoin. (PSR ¶¶ 14–15). Because BitMEX operated in the
United States, including through offering its products to U.S. customers and operating offices in
the United States, the Company was a futures commission merchant (“FCM”), which is required
under the Commodity Exchange Act (“CEA”) to register with the Commodity Futures Trading
Commission (“CFTC”), and is a financial institution which must comply with the Bank Secrecy
Act. (PSR ¶ 15). From its launch in 2014, BitMEX acted in violation of the BSA; Hayes and his
co-conspirators began willfully violating that law by at least in or about September 2015, when
the CFTC issued regulatory orders announcing its view that cryptocurrency is a commodity, and
the defendants knew their failure to implement an AML program while operating in the United
States was unlawful.

        As CEO, Hayes was a leader in BitMEX’s criminal failure to comply with the BSA. (PSR
¶¶ 19, 56). He was a critical organizer of the ongoing decisions not to implement an AML program
at BitMEX, while operating in the United States. (PSR ¶ 56). When Hayes helped launch BitMEX,
he had over half a decade experience in financial services, and thus fostered BitMEX’s lack of
compliance functions. (PSR ¶¶ 56, 98).

        Beginning with BitMEX’s launch, Hayes was consistently focused on avoiding KYC
requirements. In its earliest days, BitMEX advertised that it did not perform know-your-customer
checks. Shortly before the launch of the program for live trading in November 2014, Hayes wrote
to Delo that BitMEX would not do any KYC, saying “Basically just valid email address until we
feel significant pressure to do otherwise.” In about 2015, the website advertised that “No real name
or other advanced verification is required on BitMEX.” (PSR ¶ 18). In a February 2017 blog post,
Hayes wrote that “KYC and AML violations are used by governments worldwide to harass
companies.” https://blog.bitmex.com/lockdown/ (accessed May 12, 2022). Until at least August
2017, BitMEX’s registration page required users to provide a username, email address, and
password; but explicitly stated that first and last name were “not required” to register and were
only “used for verification purposes if you lose your two-factor auth[entication]” for account login.
While that language on BitMEX’s website was later removed, BitMEX still did not require users
to verify their identities until after the Indictment was unsealed.

            B. Hayes Closely Followed, and Defied, U.S. Law

       Hayes and his co-defendants followed global regulation of cryptocurrency, particularly
from the United States, very closely. Those regulations guided their business decisions. First, the
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defendants chose to incorporate in the Seychelles specifically because the country “had no clarity
on Bitcoin.” (PSR ¶ 16). Second, the defendants designed the very architecture of BitMEX to avoid
KYC regulations, stating that they chose to transact with BitMEX’s customers exclusively in
Bitcoin because, as of 2014, their view was that there was no “gov[ernmen]t regulation covering
KYC or AML” for such transactions. (PSR ¶ 16). 1

        Hayes and his co-founders soon came to understand that the decision to only accept Bitcoin
did not exempt them from KYC and AML regulations. In September 2015, the CFTC issued two
public administrative actions, which announced the Commission’s view that cryptocurrency was
a commodity subject to regulation under the CEA. (PSR ¶ 17(b)). As Hayes acknowledges in his
sentencing submission, he “reviewed these orders and concluded that, under the CFTC’s new
approach to regulation of cryptocurrency, BitMEX could be subject to CFTC jurisdiction,
including a requirement to conduct KYC, if the company served U.S. customers.” Def. Mem. at
11.

        Given the choice between complying with the BSA or withdrawing from the United States,
the defendants putatively chose the latter: they put a notice on BitMEX’s website and in its terms
of service stating that U.S. customers were forbidden from creating accounts, and restricted
individuals from creating an account using an internet protocol (“IP”) address from the United
States. (PSR ¶ 17). 2 However, these controls were a sham. Hayes knew that the controls were
easily evaded, and did not take simple steps to restrict more U.S. customers from accessing the
platform.

       Hayes knew U.S. customers continued to access BitMEX through several means. First,
BitMEX already had a significant number of U.S. users in September 2015 and made no effort to
remove them. (PSR ¶ 24). Second, he and his co-defendants did not actually bar U.S. IP addresses
from the platform. Instead, BitMEX only ran a single IP address check when new users created
accounts, even though Hayes knew that users could easily avoid the initial check, including by
using virtual private network services (“VPN”) 3 and then make subsequent logins from U.S. IP
addresses. (PSR ¶¶ 29–32). Third, Hayes intentionally marketed to U.S. customers, including
through his appearances on U.S. media outlets and through the BitMEX affiliate user program.

1
  The Department of Treasury had in 2013 published public guidance documents that it interpreted
the BSA as covering institutions that exchanged between cryptocurrency and fiat currency.
2
  Even these restrictions did not mean the Company was not operating in the United States, since
Reed, and later Greg Dwyer, were physically based in the United States while carrying out their
duties, and BitMEX had numerous other employees physically present in the U.S., including from
an office in Manhattan.
3
   The defendant suggests that he did not believe “it w[as] technologically possible to block
customers using a VPN from gaining access to the BitMEX platform.” Def. Mem. at 13 n.7. By
the time BitMEX began putatively blocking U.S. users, however, other companies had done so for
years.    See,     e.g.,   Netflix     restricts  streaming      from     abroad,     available   at
https://money.cnn.com/2015/01/05/technology/netflix-vpn (describing Netflix corporate
statement that “Virtually crossing borders to use Netflix is a violation of our terms of use because
of content licensing restrictions, and we employ standard measures to prevent this kind of use.”).
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(PSR ¶¶ 33–35). Fourth, the defendant allowed some prominent users who he personally knew
were U.S. persons to access and trade on BitMEX’s platform openly. 4 (PSR ¶¶ 17, 24–27). Finally,
as Hayes acknowledges, users whose accounts were closed because they had been flagged as from
the United States could still open a new account, even if they used the exact same email address
as the closed account. Def. Mem. at 14 n.9. The Government has identified multiple such users
who did precisely that and then continued to freely operate on BitMEX.

        The presence of U.S. users was far from incidental. On the contrary, as late as July 2017,
nearly two years after claiming to have banned U.S. users, Hayes received a report from Greg
Dwyer, a BitMEX employee, that showed that the “United States remains the most popular country
by visits and average number of active users per day.” (PSR ¶ 21). 5 Subsequent monthly revenue
reports continued to show the presence of U.S. users on BitMEX. (PSR ¶ 22). Hayes claims that
BitMEX turned away large numbers of U.S. users. Deft. Mem. at 14. His primary source for that
claim is the pretrial report of a defense “expert” witness, but as the Government’s briefing
demonstrated, that report was riddled with errors. Dkt. No. 280 at 15–17, 18–21. Hayes also
acknowledges that when BitMEX did shut down U.S. accounts, the same user could easily create
a new account, using the same email address, a practice that appears to have been common. In fact,
Hayes well knew that there were no effective controls and that large numbers of U.S. users freely
traded on the platform.

        Despite Hayes and his co-founders’ knowledge that allowing these users meant that
BitMEX was subject to U.S. law including the BSA, BitMEX never required all users to provide
their real names and identification documents until after the unsealing of the Indictment; nor did
the Company file any SARs with FinCEN between its launch and the unsealing of the Indictment,
despite ample knowledge of suspicious activities.

           C. The Defendant Knew that BitMEX was a Tool for Criminal Activity

       As a result of Hayes’ decisions not to implement an AML program, BitMEX became a tool
for money laundering and criminal activity, which Hayes knew and did little to stop. Because
BitMEX did not require KYC, (PSR ¶¶ 20, 26), the full scope of criminal conduct on BitMEX will
never be known. BitMEX, still owned by Hayes, Delo, and Reed, accepted a settlement with the
Department of Treasury’s Financial Crimes Enforcement Network (“FinCEN”) in which it neither

4
  Hayes describes this user’s continued access to BitMEX as “some sort of internal breakdown in
BitMEX’s process,” Def. Mem. at 15 n.10, but the evidence, including that described in the PSR,
shows that was an intentional decision by BitMEX’s management so as not to “make enemies.”
(PSR ¶ 25).
5
   These reports belie Hayes’ claim that the company was focused on Chinese users from the
second half of 2015 onward. Def. Mem. at 7-8. Additionally, Hayes’ claim that he “inferred” that
web traffic showing a user’s IP address was in the United States “was actually originating in
China” because many Chinese customers used VPNs, Def. Mem. at 13 n.7, is not credible. In the
reports that identify the U.S. as the most popular country for BitMEX users in 2017, there is no
suggestion that any of these users were actually in China, and those reports separately list China
as a country with large numbers of visits and users.
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admitted nor denied FinCEN’s finding that it had conducted more than $200 million in suspicious
transactions, and that the Company had failed to file SARs on nearly 600 specific suspicious
transactions. (PSR ¶ 42); FinCEN Announces $100 Million Enforcement Action Against
Unregistered Futures Commission Merchant BitMEX for Willful Violations of the Bank Secrecy
Act, available at https://www.fincen.gov/news/news-releases/fincen-announces-100-million-
enforcement-action-against-unregistered-futures. The Government has seen BitMEX surface
repeatedly in its own criminal investigations, an indication of the consequences of BitMEX’s
failure to implement any AML controls. For instance, Jeremy Spence, a U.S. citizen prosecuted
by this Office, pled guilty to commodities fraud which included his misrepresentations regarding
his trading positions on BitMEX. 21 Cr. 116 (LAK) (S.D.N.Y.). Previously convicted felon
Michael Patryn, one of the founders of the crypto company QuadrigaCX, now insolvent and
possibly fraudulent, had an account on BitMEX. British hacker Elliot Gunton, currently charged
by federal authorities in California, also had an account linked to BitMEX.

        A representative example occurred in May 2018. On May 4 an attorney in Germany
contacted BitMEX’s support email address, stating that his client had been hacked and the
proceeds may have been laundered through BitMEX. This email was passed to Hayes, along with
a message from a BitMEX employee identifying the user ID for the account containing the stolen
proceeds. BitMEX froze the account and Hayes instructed the victim’s attorney to obtain a
Seychelles court order, but after a few weeks, the attorney responded that was a particularly
challenging process. The suspicious user began repeatedly emailing BitMEX’s support staff to
complain about his account freeze. After a few weeks, Hayes told his employee to unfreeze the
account, because the victim “has not come back to us yet with a proper court order.” The account
was unfrozen; the suspicious user could then withdraw what Hayes’ own employee had identified
as “the stolen bitcoin” from BitMEX’s platform, which the user promptly did. (PSR ¶¶ 43–44). 6
Hayes did not report this encounter to law enforcement or thereafter implement an AML program.

        The consequences of this action were raised again a few months later, when German police
contacted BitMEX’s support desk requesting additional information about that same hack incident.
BitMEX then filed a report with the Seychelles regulator, but did not include the kind of
information required under U.S. law, including the email address which BitMEX employees
themselves recognized as involved in the money laundering, nor did they inform the Seychelles
regulator that BitMEX had unfrozen the account and allowed the suspected user to withdraw the
potential criminal proceeds. (PSR ¶ 44).

         BitMEX’s deficient compliance program extended to its treatment of U.S. sanctions laws.
From the earliest days of the company, compliance consultants offered their services to BitMEX,
and mentioned that they offered sanctions programs. BitMEX counterparties also sometimes
mentioned the need for a counter-sanctions program. However, Hayes did not take these statements
seriously. In about January 2017, Hayes and Delo both told Iranian customers that they were free
to trade. (PSR ¶ 45). By no later than October 2017, Hayes knew that the company could not
transact with individuals on the U.S. sanctions list, and implemented some controls designed to try
to restrict such transactions. (PSR ¶ 45). However, he did not take steps to ensure that the customers

6
  This incident belies Hayes’ statement that he did not “condone[] any illegal transaction activity
on the platform.” Def. Mem. at 16.
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he had authorized had been removed from the platform. (PSR ¶ 45). Without an adequate KYC
program, BitMEX could never be sure it was not dealing with sanctioned individuals, who could
use the same simple methods to evade the controls as those used by U.S. persons. As a result,
BitMEX internal reports shared with the defendant showed that BitMEX continued to earn revenue
from customers in Iran through at least April 2018, and Delo understood as late as November 2018
that the company did not have “strict enforcement of US sanctions against Iran etc.,” and
sometimes “let these people slip through the cracks.” (PSR ¶ 46).

           D. Hayes Repeatedly Lied About BitMEX’s Operations

         As the public face of BitMEX, Hayes was often asked about whether BitMEX needed to
comply with the BSA. He could only maintain BitMEX’s claim to be outside of U.S. jurisdiction
through a series of lies. For example, in March 2016 when a CFTC letter to a different
cryptocurrency platform was released, implying that the platform was in violation of the CEA and
BSA by offering its products to people in the United States, Hayes lied to an associate of his that
the letter was “Not a problem for us we don’t allow US residents.” (PSR ¶ 36). A few months later,
after the CFTC had taken an administrative action against another cryptocurrency company for
operating as an unregistered FCM, Hayes again lied, and said that BitMEX would not be affected
because, unlike that company, “BitMEX openly does not server [sic] US customers. They are not
allowed to enter the platform. We block all US IP addresses.” (PSR ¶ 36).

        Hayes similarly lied to a Wall Street Journal reporter the following year, stating “Due to
CFTC regulations, BitMEX does not service Americans.” (PSR ¶ 37). After the CFTC and SEC
brought actions against a cryptocurrency platform called 1Broker for various offenses, including
violations of the BSA, in September 2018, Hayes sent an email to all employees of BitMEX,
falsely asserting that “[t]here are important differences between 1Broker and the business of
BitMEX, and I want to remind and reassure you that BitMEX prohibits residents of the US from
holding positions or entering into contracts on BitMEX.” (PSR ¶ 39).

        Hayes also made other misrepresentations to support BitMEX’s operations. From in about
2016 through at least 2018, Hayes, Delo, and others at the Company made a series of false
statements and submitted false documents to the Hong Kong branch of HSBC regarding Shine
Effort, a BitMEX affiliate. Hayes, Delo, and other BitMEX employees told HSBC that Shine
Effort was actually independent and owned by Delo, with no connection to cryptocurrency. These
false statements were designed to allow BitMEX access to bank accounts for payment of various
corporate expenses and make U.S. dollar wire transfers. (PSR ¶ 47). Hayes conspired to make
these misrepresentations because of his belief that were HSBC to learn the truth, the bank would
decline to allow Shine Effort to open a bank account, or later that HSBC would close the account.
For example, in April 2017, HSBC requested additional information about the Shine Effort
account. (PSR ¶ 50). Hayes contacted an associate about BitMEX’s desire to “open a few other
backup accounts for our subsidiary,” namely Shine Effort. Hayes wrote “we have a hsbc sub that
isn’t outwardly associated with bitmex” and “we want an additional bank account / so technically
not crypto related”. Similarly, in October 2018, when trying to obtain false documents to submit
to the bank that omitted references to cryptocurrency, (PSR ¶ 53), Hayes wrote to a BitMEX
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employee he was trying to obtain a contract but “we want to make sure it does not mention
bitcoin.” 7

           E. Hayes Caused BitMEX to Unlawfully Offer Risky Products to Retail Investors

        Along with the defendant’s violation of the BSA came multiple civil violations of the CEA,
the law designed to protect investors and the integrity of the commodities markets. Among those
violations was his offering of risky extremely leveraged derivatives to “retail” customers (as
opposed to sophisticated investors, called “eligible contract participants” under the CEA, 7 U.S.C.
§§ 1a(28)(A)(i)(I)(bb) and (18)). Indeed, the defendant was quite clear that he wanted to appeal to
such “retail” customers. https://blog.bitmex.com/bitmex-vs-cme-futures-guide/ (accessed May 12,
2022) (December 2017 blog post in which the defendant compared his interest in “retail” as
opposed to “professional investors”); Def. Mem. at 7–8 (“BitMEX was able to offer significantly
greater leverage, which was a key selling point for retail investors in China.”). But while Hayes
sometimes dressed up his interest as ensuring that retail traders had the opportunity to trade the
potentially lucrative products, at other times, he was quite plain that he knew that BitMEX’s
products were dangerous for retail traders. In a presentation still available on YouTube, found at
https://www.youtube.com/watch?v=Ljw9ulT2NHE, approximately minute 8:00, Hayes describes
that BitMEX only became successful when he realized that “[t]here are people who offer similar
types of products but are focusing on degenerate gamblers, a.k.a. retail traders in Bitcoin, so why
don’t we do the same?” He continued that he decided to create “the world’s highest leverage
Bitcoin-U.S. dollar product,” recognizing that this was the “world’s most leveraged product to
trade Bitcoin/U.S. dollars” “on the most volatile asset in the history of the world.” BitMEX’s
support staff was often flooded with emails from users who had lost thousands of dollars, or even
said they were contemplating suicide, after the user lost large sums on BitMEX’s platform.

           F. Hayes Mischaracterizes BitMEX’s Remedial Efforts

       In his sentencing submission, Hayes argues that he and the other BitMEX executives began
planning to implement a KYC program in May 2019, and asserts that this was “voluntar[y]” or

7
  The Government originally briefed the admissibility of this conduct as direct evidence of the
charged crimes and as potential 404(b) material in its motion in limine, and the Court reserved
decision. For purposes of sentencing, Hayes’ lies to HSBC Hong Kong are appropriately
considered both because they were intertwined with and an integral part of the crime of conviction
and as part of his “background, character, and conduct.” 18 U.S.C. § 3661.
Indeed, Hayes’ sentencing submission provides further context to a question the Court raised
during the conference on the motions. The Court reserved decision on whether this information
would be admissible, but noted that “one of the underpinnings of the argument that the defendants
were attempting to separate themselves from any association with Bitcoin, appears to strain
credulity in view of the government’s arguments about the prominence of the defendants in
Bitcoin.” As the defendant himself argues, however, “[i]n 2016 and the first half of 2017,” namely
when he and Delo began their scheme of lying to HSBC, his “business began to gain some limited
traction, but growth was slow and revenues remained modest.” Def. Mem. at 8. In other words,
he was not particularly prominent in the crypto space when he lied to HSBC.
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“proactive”. Def. Mem. at 15. What he neglects to mention is that this was six months after the
CFTC went overt in its investigation into BitMEX in November 2018, and after the CFTC had
already served a subpoena on the company and deposed Reed, Dwyer, and other BitMEX
employees, in which each was asked numerous questions about BitMEX’s KYC program. At that
point, the company knew that it was under regulatory scrutiny and was likely simply trying to
forestall an enforcement action. What is notable is that, even though the company claimed that it
was planning to implement a KYC program, it took essentially no steps toward actually doing so
for over a year, only finally announcing that a KYC program was coming in August 2020. The
actual program did not materialize until December 2020, after Hayes and his co-defendants had
been indicted.

       II.     Procedural History

        On October 1, 2020, Hayes’ co-defendant Samuel Reed was arrested in Massachusetts,
and the Indictment was unsealed. Hayes self-surrendered in Hawaii on April 6, 2021. After pre-
trial motion practice, he ultimately entered a plea of guilty to Count One of the Indictment,
violating the Bank Secrecy Act, in violation of Title 31, United States Code, Sections 5318 and
5322; and Title 31, Code of Federal Regulations, Sections 1026.210 and 1026.220, about a
month before trial was scheduled. He is the first defendant to be sentenced in this case. His
sentencing is scheduled for May 20, 2022.

       III.    Presentence Investigation Report

       The Probation Office has calculated the offense level as follows, and as consistent with the
plea agreement: (1) pursuant to U.S.S.G. § 2S1.3(a)(1), the base offense level is 8; (2) pursuant to
U.S.S.G. §3B1.1(a), because the defendant was an organizer or leader of a criminal activity that
involved five or more participants or was otherwise extensive, four levels are added; (3) two levels
are removed for acceptance of responsibility, so the specific offense level is 10. (PSR ¶¶ 63–72).
The defendant has no criminal history points, and is in Criminal History Category I.

        This offense level and criminal history category lead to a Guidelines range of 6 to 12
months’ imprisonment. (PSR ¶ 106.) The Government agrees with the Probation Office’s
calculation.

        Probation has recommended a non-incarceratory sentence, with two years’ probation.
(PSR p. 40). This recommendation is based on Probation’s apparent view that this crime is “a
technical violation of banking law,” and “that cryptocurrency and the regulations governing it,
were and still are in its relatively early stages of development,” including when the defendant and
his co-conspirators launched BitMEX. (PSR p. 42). Probation also cites to the $10 million fine the
defendant has agreed to pay.
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       IV.      An Incarceratory Sentence Above the Stipulated Guidelines Range is
                Appropriate

             A. Applicable Law

        As the Court knows well, the Sentencing Guidelines are no longer mandatory after United
States v. Booker, 543 U.S. 220 (2005). “[A] district court should begin all sentencing proceedings
by correctly calculating the applicable Guidelines range,” which “should be the starting point and
the initial benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007). After making the initial
Guidelines calculation, a sentencing judge must consider the factors outlined in Title 18, United
States Code, Section 3553(a), and “impose a sentence sufficient, but not greater than necessary, to
comply with the purposes” of sentencing: “a) the need to reflect the seriousness of the offense, to
promote respect for the law, and to provide just punishment for that offense; b) the need to afford
adequate deterrence to criminal conduct; c) the need to protect the public from further crimes by
the defendant; and d) the need for rehabilitation.” United States v. Cavera, 550 F.3d 180, 188 (2d
Cir. 2008) (citing 18 U.S.C. § 3553(a)(2)).

        In light of Booker, the Second Circuit has instructed that district courts should engage in a
three-step sentencing procedure. See Crosby, 397 F.3d at 111-13. First, the Court must determine
the applicable Sentencing Guidelines range, and in so doing, “the sentencing judge will be entitled
to find all of the facts that the Guidelines make relevant to the determination of a Guidelines
sentence and all of the facts relevant to the determination of a non-Guidelines sentence.” Id. at
112; see also United States v. Corsey, 723 F.3d 366, 375 (2d Cir. 2013) (“Even in cases where
courts depart or impose a non-Guidelines sentence, the Guidelines range sets an important
benchmark against which to measure an appropriate sentence.”). Second, the Court must consider
whether a departure from that Guidelines range is appropriate. See Crosby, 397 F.3d at 112. Third,
the Court must consider the Guidelines range, “along with all of the factors listed in section
3553(a),” and determine the sentence to impose. Id. In so doing, it is entirely proper for a judge to
take into consideration his or her “own sense of what is a fair and just sentence under all the
circumstances.” United States v. Jones, 460 F.3d 191, 195 (2d Cir. 2006).

             B. Discussion

        A significant sentence of incarceration, above the applicable Sentencing Guidelines range
of 6 to 12 months, is necessary to comply with the purposes set forth in 18 U.S.C. § 3553(a).
Hayes’ calculated and prolonged effort to violate the BSA on a large scale warrants a substantial
period of incarceration. While any violation of the BSA undermines the nation’s financial system,
this case is unique in its extent and magnitude. The defendant’s violation was not an isolated lapse
in judgment or a temporary lapse in his operation of an otherwise law-abiding business. Rather,
over the course of years, and as his company grew into one of the largest cryptocurrency trading
platforms in the world, the defendant made a conscious and deliberate choice to operate the
company in constant violation of the law. Moreover, Hayes earned enormous personal profits
while operating BitMEX, and operated as its CEO and public face. He designed the company to
allow its users to open accounts, transact, and move money, anonymously, without any KYC or
AML controls. As the defendant knew, such a platform would be, and was, a magnet for criminals
looking to launder the proceeds of their illegal activity and commit other crimes. Those serious
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crimes, his disrespect for U.S. law, and the need to deter both the defendant himself and others in
the cryptocurrency world, all favor a substantial period of incarceration above the Guidelines
range.

       The History and Characteristics of the Defendant

        The defendant’s sentencing submission makes clear that he was a sophisticated and
successful businessman, with an excellent education and strong professional network.
Unfortunately, despite those advantages, he chose to put his talent and sophistication to work to
create a cryptocurrency platform that operated in daily violation of the law. The company’s
stratospheric rise was in part due to its refusal to comply with its legal obligations under the BSA.
He was the CEO, the public face, the leader of BitMEX and the criminal activity. This was a crime
driven by greed, not necessity.

        The defendant has submitted a number of letters attesting to his positive personal qualities
and expressing support. It is, of course, appropriate for the Court to take these letters into account
in connection with sentencing. However, these attestations to the defendant’s positive qualities do
not distinguish him from the typical defendant in a white-collar case. As Judge Marrero observed
in another case, this collection of letters

           falls into a pattern advanced by a subset of the white collar criminal. This category
           encompasses a select class: distinguished, reputable, highly esteemed model citizens
           such as this defendant. The list of their achievements and virtues is long and impressive.
           Let us count the ways. At home, they are good family men and women, caring spouses,
           loving parents, loyal and reliable to friends. At work, they are looked up to as
           outstanding professionals and business partners. To their community’s charities and
           public causes they are generous patrons and sponsors.

United States v. Regensberg, 635 F. Supp. 2d 306, 308 (S.D.N.Y. 2009), aff’d, 381 F. App’x 60
(2d Cir. 2010); see also United States v. McClatchey, 316 F.3d 1122, 1135 (10th Cir. 2003)
(“excellent character references are not out of the ordinary for an executive who commits white-
collar crime; one would be surprised to see a person rise to an elevated position in business if
people did not think highly of him or her”); United States v. Vrdolyak, 593 F.3d 676, 682-83 (7th
Cir. 2010) (“[I]t is usual and ordinary, in the prosecution of similar white-collar crimes . . . to find
that a defendant was involved as a leader in community charities, civic organizations, and church
efforts,” and the defendant “should not be allowed to treat charity as a get-out-of-jail card” (citation
and internal quotation marks omitted)).

        The Government does not question that Hayes is a talented, accomplished, and influential
person who has helped many others in his career. But these positive qualities, while admirable, do
not set Hayes apart from other similarly situated white-collar defendants—individuals who are
high-achieving and successful, but nonetheless chose to break the law for personal advantage.

       The Government also notes that one of the attributes highlighted in the defendant’s
sentencing submission and supporting letters is his outspokenness and prominence in the world of
cryptocurrency, which he refers to as his “cryptocurrency thought leadership.” Unfortunately, this
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case shows that the defendant chose to use his influence to promote a vision for the crypto industry
that was in direct contradiction to the law, and calculated to undermine government regulations.
As noted above, the defendant routinely criticized and mocked KYC requirements, and made it
clear that he had no interest in complying with them. Moreover, the defendant even criticized other
cryptocurrency industry participants who did require KYC, and argued that these requirements
were not desired by crypto users because they might prevent them from engaging in illegal activity.
For instance, in 2019, when Facebook announced a plan for a cryptocurrency called Libra, Hayes
wrote a mocking blog post warning that “you can bet that converting assets into Libra will
encounter KYC. And let’s be clear, any request from a government agency to freeze a transaction
will be met with compliance. Therefore, do not use Libra to buy your mood-altering substance(s)
of choice.” 8 Thus, while it may be true that the defendant is a “thought leader” in cryptocurrency,
he deliberately used that leadership role to undermine regulations and promote the idea that crypto
should be an anonymous asset free from law enforcement oversight. 9

        The defendant also highlights his “philanthropic and community service.” However
commendable they may be, these acts are unexceptional and insufficient to warrant a below-
Guidelines sentence. See U.S.S.G. § 5H1.11 (“Civic, charitable, or public service; employment-
related contributions; and similar prior good works are not ordinarily relevant in determining
whether a departure is warranted.”). Additionally, the fact that the defendant was able to give
several million dollars to charity no doubt resulted in large part from the fact that he personally
received some $150 million in dividends from BitMEX while the company systematically flouted
the BSA for a period of five years.

         The Seriousness of the Offense

        A substantial sentence is needed because the defendant was a leader of a serious criminal
enterprise. The BSA is designed to safeguard the financial system, both in the United States and
around the world, from illicit use, and to combat money laundering. Financial institutions are
required to implement AML programs so that the institutions do not foster criminal activity or lead
to the diversion of victim funds. Cryptocurrency compounds the need for such programs because
of the technology’s pseudonymity; without KYC and AML, a user of cryptocurrency could evade
law enforcement by hiding behind the string of numbers describing their wallet address.

        By operating BitMEX without an AML program, Hayes created a significant platform for
cryptocurrency users to do exactly that. Due to Hayes’ criminal conduct, the full scope of the
illegal behavior that BitMEX enabled cannot be precisely estimated. It is noteworthy, however,
that FinCEN identified $200 million in suspicious transactions, a staggering sum. Similarly,
Hayes’ decisions, and his refusal to implement a full KYC and AML program, meant that it was


8
    See https://blog.bitmex.com/libra-zuck-me-gently/ (accessed May 12, 2022).
9
  This commentary went far beyond mere “libertarian viewpoints” critical of the Government,
Def. Mem. at 18 n.13, particularly in light of his self-described role as a leader in the
cryptocurrency industry, insofar as it fostered the view that cryptocurrency companies should
evade the BSA to become as successful as BitMEX.
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more likely that BitMEX would allow sanctioned parties to trade, which they did. That sanctions
evasion carries substantial costs to the U.S. financial system and U.S. national security interests.

        Nor was Hayes somehow unaware that he was creating a risk that his platform could be
used for unchecked money laundering. As he acknowledges, he knew for years that he was
required to have KYC and AML programs but willfully permitted users to transact anonymously
with no controls, and did so despite repeated warnings from law enforcement around the world
about suspicious activities on the platform. His failure to implement an AML program meant that
it was harder for law enforcement to identify criminal activity and track victim funds. This was no
mere regulatory mistake. Hayes refused to implement an AML program knowingly and
intentionally.

        An above-Guidelines sentence is also appropriate given Hayes’ frequent lies about
BitMEX’s operation. Hayes could only maintain the fiction that BitMEX need not comply with
the BSA through his repeated lies about its U.S. operations and U.S. customers. Hayes also lied to
HSBC, in a way that underscores his criminal culpability in this case. The Government understands
that the bank would have performed more due diligence and possibly even restricted the account-
holder’s ability to make U.S. dollar wire transfers if it had known the truth, that Shine Effort was
acting on behalf of an unregulated cryptocurrency exchange that performed no AML program.
Those lies led HSBC to allow over a hundred million dollars flow through the account, despite the
substantial regulatory and reputational risk to the bank. 10

       The Need to Promote Respect for the Law

        The need to promote respect for the law is also a critical factor here. This crime was a
willful violation of U.S. law, undertaken for years, purely for the defendant’s financial advantage.
He attempts to justify his conduct by explaining that he initially decided it was “not practicable”
to follow the law because BitMEX was at its inception “thinly-resourced.” Def. Mem. at 11 n.6.
But he himself cites to a chart showing explosive monthly revenue exceeding $10 million soon
after October 1, 2017. Def. Mem. at 8–9.11 That means that Hayes had more than enough resources
to follow the law. He used his wealth to retain some of the most sophisticated attorneys in this
country to assist BitMEX, and indeed was able to arrange a direct meeting with the CFTC, where
he could discuss BitMEX’s platform and attempt to follow any guidance given. 12 His decision not


10
   In a somewhat similar recent case, Judge Rakoff imposed incarceratory sentences of 18 and 36
months’ for defendants who had deceived banks in order to transfer more than a hundred million
dollars through their accounts, even though the banks suffered no loss. United States v. Weigand
and Akhavan, 20 Cr. 188 (S.D.N.Y.).
11
   Later data showed that the Company had revenues exceeding $20 million a month by January
1, 2018.
12
   Hayes’ assertion that he showed “prescien[ce]” that the CFTC would not approve BitMEX’s
business model because of its features is aggravating, not mitigating. Def. Mem. 11 n.6. If the
defendant knew that BitMEX could only succeed by violating the law then he should not have
founded BitMEX, and either identified a law-abiding enterprise that could succeed, or continued
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to expend money on compliance emphasizes his criminal culpability. This is all the more so in
light of Hayes’ public expressions of disdain for KYC and AML regulations, and his general
encouragement of others in the crypto sphere to ignore them.

         Hayes’ dismissive attitude toward the regulations intended to protect retail investors—and
indeed his lack of concern for those investors—is illustrative of his general lack of respect for the
law. Whether cryptocurrency companies agree with the law or not, the CEA is designed to protect
retail investors. Hayes instead jokingly referred to his client base, oftentimes just regular people,
as “degenerate gamblers,” ignoring the material consequences his decisions had on individuals
less sophisticated than an honors Wharton graduate with years in financial services.

       Specific and General Deterrence

        The need for general and specific deterrence weighs heavily in favor of a substantial,
above-Guidelines sentence. The cryptocurrency industry is still an evolving market space, and new
trading platforms are emerging seemingly by the day. It is a critical policy of the United States to
ensure that these platforms comply with regulations such as the BSA, to prevent this new space
from becoming an unregulated market where criminals can transact with impunity. See, e.g.,
FinCEN, “Anti-Money Laundering and Countering the Financing of Terrorism National
Priorities,” available at https://www.fincen.gov/sites/default/files/shared/AML_CFT Priorities
(June%2030%2C%202021).pdf (“FinCEN notes that, while a substantial financial innovation,
convertible virtual currencies (CVCs) also have grown as the currency of preference in a wide
variety of online illicit activity.”). One of the tools to encourage that is the deterrent effect of
criminal prosecutions for willful violations, which depends in large part on meaningful sentences
being imposed when the law is violated. The non-incarceratory sentence that the defendant
requests would undermine that goal, and fail to deter either this defendant or other similarly
situated defendants from committing similar crimes in the future.

        The defendant’s own sentencing submission makes it clear that there is a need for specific
deterrence in this case. The defendant makes no secret of his intention to continue to operate in the
cryptocurrency industry. Given his lengthy history of anti-regulatory and anti-law enforcement
rhetoric and conduct in relation to cryptocurrency trading, there is an acute risk that he will return
to criminal conduct if he does not perceive that there is a real cost to such criminal behavior. The
defendant has paid a significant financial penalty, but it is only a small portion of the money he
has made from operating BitMEX, and could easily be viewed as just a “cost of doing business”
outside the law. 13 SEC v. Rajaratnam, 918 F.3d 36, 45 (2d Cir. 2019). A substantial sentence of


in his highly compensated jobs in finance. Of course it was easier to make money violating the
law than it was to follow the law, but that is no justification to ignore the law.
13
   That argument is highlighted by Hayes’ absurd suggestion that the Court should also factor in
the “diminution in the value of BitMEX,” Def. Mem. at 18, or the “tens of millions of dollars that
BitMEX has spent in connection with remediation, compliance undertakings.” Def. Mem. at 28
n.15. The Company has lost value because of his own crimes and regulatory violations. The
compliance costs should have been paid from BitMEX’s launch. Discounting his criminal sentence
based on such a factor would be rewarding him for his criminal conduct.
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incarceration is needed to send the message that such criminal conduct will carry consequences.
The need for deterrence is especially acute where, as here, a crime has proven to be lucrative and
has required great effort to detect and prosecute. “Considerations of (general) deterrence argue for
punishing more heavily those offenses that either are lucrative or are difficult to detect and punish,
since both attributes go to increase the expected benefits of a crime and hence the punishment
required to deter it.” United States v. Zukerman, 897 F.3d 423, 429 (2d Cir. 2018) (quoting United
States v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994)).

        Moreover, a substantial sentence is needed to foster general deterrence. There is no
question that this case has been extremely closely watched in the cryptocurrency industry. BitMEX
is a major player in that industry, and Hayes in particular has been a high-profile leader in crypto
for years. The decision about whether to comply with the BSA is a calculated one that many other
actors in the cryptocurrency space are making, which greatly raises the importance of general
deterrence as a sentencing factor in this case. See United States v. Peppel, 707 F.3d 627, 637 (6th
Cir. 2013) (“Because economic and fraud-based crimes are more rational, cool, and calculated
than sudden crimes of passion or opportunity, these crimes are prime candidates for general
deterrence.” (quotation marks omitted)). Compliance by cryptocurrency platforms will be
unattainable if their operators believe there are no meaningful repercussions for failing to comply
with the law, even if they are actually detected and successfully prosecuted.

       The Guidelines Range and Other Defendants With Similar Conduct

        An above-Guidelines sentence is also appropriate because the applicable Sentencing
Guidelines are highly anomalous. Unlike many similar offenses, the Guidelines for this offense do
not vary in accordance with the magnitude of the offense. While the defendant did receive
leadership points for his role in the offense, his Guidelines Range is otherwise the same as it would
be if he had run a small check-cashing storefront that had a real but willfully inadequate AML
program. Clearly his culpability is substantially greater than such an offense, as he operated a
massive offshore financial marketplace that openly proclaimed its lack of any AML program. The
Court should consider the scope of the defendant’s criminal conduct, the trillions of dollars which
BitMEX allowed to trade, the hundreds of millions of dollars the defendant earned, and conclude
that the Sentencing Guidelines are too low for such an offense. Cf. United States v.
Tokhtakhounov, 607 F. App’x 8, 12 (2d Cir. 2015) (affirming above-Guidelines sentence in case
involving laundering of gambling proceeds where district court found the guidelines understated
the seriousness of the conduct because the “gambling Guidelines do not consider the amount of
money gambled in calculating the base offense level.”)

       A sentence above the Guidelines Range would also comport with the sentences imposed in
the most closely analogous cases, where the defendants were executives at cryptocurrency
companies which circumvented AML restrictions by operating unlicensed money transmitting
businesses, in violation of 18 U.S.C. § 1960. In several recent such cases, courts have imposed
sentences in an average range that is higher than the Guidelines Range here. See, e.g., United States
v. Shrem, 14 Cr. 243 (S.D.N.Y.) (JSR) (two year sentence for defendant, who was the CEO and
compliance officer of a Bitcoin exchange company that operated as an unlicensed money services
business and who deliberately allowed a specific customer to circumvent AML restrictions);
United States v. Marmilev, 13 Cr. 368 (S.D.N.Y.) (DLC) (five year sentence for defendant who
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was Chief Technology Officer at unlicensed money transmitting business in digital currency, some
of which he knew were derived from criminal activity); United States v. Chukharev, 13 Cr. 368
(S.D.N.Y.) (DLC) (three year sentence for minor participant at the same unlicensed money
transmitting business in digital currency as Marmilev, but who did not know about its use for
criminal activity); United States v. Tetley, 17 Cr. 738 (C.D. Cal.) (sentence of a year and a day for
a defendant who operated an unlicensed money services business in cryptocurrency, as well as
commit money laundering through that business); United States v. Lord, et al., 15 Cr. 240 (W.D.
La.) (46 months’ sentence for operating an unlicensed money services business in cryptocurrency).
If anything, given the size and scope of the defendant’s operation, his culpability exceeds that of
the defendants in these analogous cases. 14 It would be a significant deviation to impose a non-
incarceratory sentence in this case as the defendant requests, and even a within-Guidelines
sentence would be lower than is necessary to comply with the purposes set forth in 18 U.S.C.
§ 3553(a).

        Nor does the fact that this is supposedly a “first-of-its-kind prosecution” militate in favor
of the defendant’s requested sentence. Def. Mem. at 25. That argument did not convince the judges
who imposed lengthy sentences on the operators of the crypto unlicensed money transmitting
businesses in the cases listed above, many of whom were the first (or near the first) such defendants
prosecuted.

       Probation’s Recommendation is Inadequate

        Probation has recommended a non-incarceratory sentence, reasoning that this was a
technical violation of banking law, that the regulatory environment for cryptocurrency was in early
stages, and that the fine sum is sufficient to disgorge the ill-gotten gains from the offense. (PSR p.
42). Each reason is mistaken.

        This was no technical violation of the law. The BSA’s AML and KYC requirements are
not obscure technicalities: they underpin and are designed to protect the global financial system.
Nor is this a case in which there was some technical noncompliance with the BSA; on the contrary,
BitMEX made no attempt to comply with the law and did not have an AML or KYC program at
all. Moreover, this case is a criminal matter not because Hayes accidentally violated a technicality,
but because he did so willfully.

       Nor was the regulatory environment unclear. As the defendant agrees, he was entirely
aware of the regulatory environment and its import for BitMEX. Hayes has admitted that he
understood in September 2015 that “BitMEX could be subject to CFTC jurisdiction, including a
requirement to conduct KYC, if the company served U.S. customers.” Def. Mem. at 11.

14
  Unlike the Guidelines at issue here, the Guidelines for Section 1960 do refer to the 2B1.1 table
and therefore vary with the magnitude of the offense. U.S.S.G. § 2S1.3(a)(2); U.S.S.G. §
2S1.1(a)(2). But violating the BSA in the manner the defendant did shows more disrespect for the
law than operating an unlicensed MSB: the defendant could only be convicted because he violated
the law willfully, whereas Section 1960 does not require proof of awareness “of the obligation to
register a money-transmitting business.” United States v. Mazza-Alaluf, 607 F. Supp. 2d 484, 489
(S.D.N.Y. 2009), aff’d, 621 F.3d 205 (2d Cir. 2010).
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        Finally, the $10 million fine is not a sufficient punishment under Section 3553(a). That
sum is a reasonable if conservative approximation of the direct pecuniary gain he derived from the
offense. But that does not capture the unquantifiable indirect value, since the lack of an AML
program allowed BitMEX to grow its lucrative business, given its prominent place in the
company’s marketing efforts. Even assuming that the fine amount were the only benefits the
defendant received from the violation, that does nothing more than disgorge ill-gotten gains; it is
not a punishment for his criminal conduct. Such a sentence would have a negligible deterrent effect
on the operators of other cryptocurrency companies, who could simply violate the law Hayes did,
try to evade law enforcement detection, but even if caught, pay nothing more than those wrongful
profits they derived as a direct result of the offense. 15

       Thus, each premise of Probation’s recommendation is wrong, and do not support the
proposed sentence.

       V.      Conclusion

       For the reasons stated above, the Court should impose a significant sentence of
incarceration, above the applicable Sentencing Guidelines range of 6 to 12 months, which is
necessary to comply with the purposes set forth in 18 U.S.C. § 3553(a).




                                             Very truly yours,

                                             DAMIAN WILLIAMS
                                             United States Attorney



                                         by: _____________________________
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cc: Counsel for Defendant Arthur Hayes


15
  Additionally, because violations of the Bank Secrecy Act do not carry forfeiture, the fine is not
a separate punishment after the defendant forfeits his criminal proceeds; instead, the fine in this
case only serves the basic disgorgement function.
